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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


CAROL BETH SHINE, as Independent
Executor of the Estate of David Langley
Minchen                                                     CIVIL ACTION NO. 4:21-cv-00141
                     Plaintiff,
v.
                                                            REMOVAL OF CIVIL ACTION
LINCOLN NATIONAL LIFE INSURANCE
COMPANY and NEW YORK LIFE
INSURANCE AND ANNUITY CORPORATION

                       Defendants.


            NEW YORK LIFE INSURANCE AND ANNUITY CORPORATION’S
                   NOTICE OF REMOVAL OF CIVIL ACTION

       Defendant, New York Life Insurance and Annuity Corporation (“NYLIAC”), through its

undersigned counsel, and with the consent of Defendant, Lincoln National Life Insurance

Company (“Lincoln”), pursuant to 28 U.S.C. §§ 1441 and 1446, respectfully notices the removal

of the captioned action to the United States District Court for the Southern District of Texas from

the Probate Court No. 3 of Harris County Texas. The grounds for removal are as follows:

       1.      Upon information and belief, on or about December 21, 2020, Plaintiff Carol Beth

Shine (“Plaintiff”), as executor of the Estate of David Langley Minchen (“Estate”), filed a

complaint in Probate Court No. 3 of Harris County, Texas Chancery captioned, Carol Beth

Shine, as Independent Executor of the Estate of David Langley Minchen v. Lincoln National Life

Insurance Company & New York Life Insurance and Annuity Corporation, bearing case number

485,451-401 (the “State Court Action”). The Complaint alleges that the Plaintiff is entitled to the

proceeds of Annuity Account No. 53 214 058 and Annuity Account No. 53 275 308 issued by

NYLIAC and due as a result of the death of David Langley Minchen (the “Insured”) and seeks


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declaratory relief that the Estate is the sole beneficiary of the NYLIAC Annuities. A copy of the

Summons and Complaint was first received by NYLIAC, through an authorized agent of

process, on December 28, 2020, and is annexed hereto as Exhibit A, together with the remainder

of the State Court Action file, in accordance with 28 U.S.C. § 1446(a).

       2.      Upon information and belief, Plaintiff was at the time the action was commenced

and currently is, a citizen of Texas and the Estate of David Langley Minchen has been probated

in Harris County, Texas.

       3.      NYLIAC is an insurance company organized and existing under the laws of the

State of Delaware with its principal place of business in New York. NYLIAC is therefore a

citizen of Delaware and New York and has been at all times since the State Court Action was

commenced.

       4.      Lincoln is an insurance company organized and existing under the law of State of

Indiana with its principal place of business in Pennsylvania. Lincoln is therefore a citizen of

Indiana and Pennsylvania has been at all times since the State Court Action was commenced.

       5.      The State Court Action is subject to removal pursuant to 28 U.S.C. § 1441(a) and

(b) and 28 U.S.C. § 1332 (diversity jurisdiction), because the parties are of diverse citizenship

and the amount of controversy exceeds $75,000.00. NYLIAC is a New York and Delaware

citizen, Lincoln is an Indiana citizen and Pennsylvania for diversity purposes and the Plaintiff is

a citizen of Texas. As Plaintiff seeks costs from NYLIAC in the total amount of $800,000, the

amount in controversy exceeds the sum or value of $75,000, exclusive of interests and costs.

       6.      The probate exception to federal jurisdiction does not apply because State Court

Action seeks relief regarding the rightful beneficiary and distribution of Annuity proceeds, which

are not part of the Estate. See Fluker v. Anderson, 2008 WL 115103 (S.D. TX January 10, 2008).



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As such, this Court would not “assume general jurisdiction of the probate or control of the

property in the custody of the state court.” Markham v. Allen, 326 U.S. 490, 494 (1946).

         7.    The timing requirements of 28 U.S.C. § 1446(b) have been satisfied in that this

Notice of Removal has been filed with this Court within thirty (30) days after service of the

Summons and Complaint on NYLIAC. The time for filing this Notice of Removal has not

expired under 28 U.S.C. § 1446(b).

         8.    The United States District Court for the Southern District of Texas is the

appropriate court to which this action should be removed because this district is the district

embracing actions filed in the Probate Court No.3 of Harris County, Texas.

         9.    A true and correct copy of this Notice of Removal is being served upon the

Plaintiff required by law under 28 U.S.C. § 1446(d).

         10.   A true and correct copy of this Notice of Removal is also being filed promptly

with the Probate Court No. 3, Harris County, Texas, in accordance with 28 U.S.C. § 1446(d).

         WHEREFORE, NYLIAC hereby removes this action, currently pending in the Probate

Court No. 3, Harris County, Texas to the United States District Court for the Southern District of

Texas.




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Dated: January 15, 2021             Respectfully submitted,


                                    By: /s/ Steven D. Seybold
                                        Sinéad O’Carroll
                                        Texas State Bar No. 24013253
                                        Steven D. Seybold
                                        Texas Bar No. 24098409
                                        Southern District Bar No. 3108738
                                        REEVES & BRIGHTWELL LLP
                                        221 W. Sixth St., Suite 1000
                                        Austin, Texas 78701
                                        (512) 334-4500
                                        (512) 334-4492 facsimile
                                        socarroll@reevesbrightwell.com
                                        sseybold@reevesbrightwell.com

                                    Counsel for Defendant New York Life Insurance
                                    and Annuity Corporation




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                                 CERTIFICATE OF SERVICE

       I do hereby certify that on January 15, 2021, a true and correct copy of the foregoing
document was sent via the Court’s electronic filing system, electronic mail, and/or regular U.S.
Mail to the following parties of record:
Eric T. Bean                                    Lincoln National Life Insurance Company
Jimmy Walker                                    c/o CSC
Dinkins Kelly Lenox Lamb & Walker, L.L.P.       211 East 7th St., Suite 620
2500 East T.C. Jester Blvd., Suite 675          Austin, TX 78701-3218
Houston, TX 77008-1461

Linda C. Goehrs                                 Commission to Every Nation
Horrigan & Goehrs, L.L.P.                       815 Jefferson St., Suite 200
1401 Truxillo St.                               Kerrville, TX 78028
Houston, TX 77004

Persecution Project Foundation                  International Messengers
215 N. West St.                                 PO Box 618
Culpepper, VA 22701                             110 Orchard Court
                                                Clear Lake, IA 50428

International Christian Concern                 Leslie J. Friedlander
2020 Pennsylvania Ave. NW 941                   Assistant Attorney General
Washington, DC 20006                            Financial Litigation and Charitable
                                                 Trusts Division
                                                P.O. Box 12548
                                                Austin, TX 78711-2548



                                            /s/ Steven D. Seybold
                                            Steven D. Seybold




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                        EXHIBIT A
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IN THE ESTATE OF                                                  IN PROBATE COURT NO. 3

DAVID LANGLEY MINCHEN,                                                     OF

DECEASED                                                          HARRIS COUNTY,TEXAS

CAROL BETH SHINE, as INDEPENDENT §
EXECUTOR of the ESTATE OF DAVID §                                          7 Pers by Cert
LANGLEY MINCHEN,Plaintiff                                                  12/22/2020
V.

LINCOLN NATIONAL LIFE
INSURANCE COMPANY

NEW YORK LIFE INSURANCE AND                             §
ANNUITY CORPORATION
Defendants

                                            ORIGINAL PETITION

         Plaintiff Carol Beth Shine, Independent Executor of the Estate of David Langley

Minchen, submits this Original Petition and shows as follows:


Discovery Level

         1.        Shine intends to conduct discovery under Level 2. This suit is not governed

by the expedited-actions process in Texas Rule of Civil Procedure 169 because Shine seeks

non-monetary relief and monetary relief in excess of$100,000.


Relief Sought

         2.        The damages sought are within the jurisdictional limits of this Court. Shine

seeks more than $1 million in monetary relief.



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Jurisdiction & Venue

         3.        This Court has jurisdiction because this is a probate proceeding related to a

decedent's estate. See Tex. Estates Code §§ 22.029, 32.005, 32.006.

         4.        Venue is proper in Harris County because the estate is pending in this

statutory probate court. See Tex. Estates Code § 33.002.


Parties

         5.        Plaintiff is Carol Beth Shine, Independent Executor of the Estate of David

Langley Minchen, Deceased.

         6.        Defendant Lincoln National Life Insurance Company is an Indiana

corporation and can be served with process through its registered agent for service of

process: Corporation Service Company, 211 East 7th Street, Suite 620, Austin, Texas

78701-3218.

         7.        Defendant New York Life Insurance and Annuity Corporation is a Delaware

corporation and can be served with process through its registered agent for service of

process: CT Corporation, 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136.

         8.        Interested party Servant Group International is a nonprofit organization

based in Nashville, Tennessee located at the following address: 506 Tanksley Avenue,

Nashville, Tennessee 37211.

         9.        Interested party Commission to Every Nation is located at 815 Jefferson

Street, Suite 200, Kerrville, Texas 78028




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          10.       Interested party Persecution Project Foundation is located at 215 N. West

 Street, Culpepper, Virginia 22701.

          1 1.      Interested party International Messengers is located at 110 Orchard Court,

PO Box 618, Clear Lake,Iowa 50428.

          12.       Interested party International Christian Concern is located at 2020

Pennsylvania Avenue NW 941, Washington, D.C. 20006.

          13.       The interested parties identified above are referred to in this pleading as the

 Charities.


 Facts

          14.       David Minchen was issued an Annuity from New York Life Insurance and

 Annuity Corporation on April 21,2015(Account No. 53214058). David purchased another

 Annuity from New York Life Insurance and Annuity Corporation on January 26, 2017

(Account No.53275308). Collectively, these annuities are referred to as the New York Life

 Annuities.

          15.       With respect to the New York Life Annuities, a "Fidelity Charitable

 Account" or "Fidelity Charitable Gift Fund," Account No. xxx2979, appears to have been

 named as the primary beneficiary. The Executor has not found any records of that account

 or fund in David's records. It is believed that the account or fund no longer exists.

          16.       David was issued a Lincoln Level Advantage B-Class Indexed Variable

 Annuity on August 20, 2018, Contract Number xx-xxxx0613 (the Lincoln Annuity). His

 Estate was designated as the sole, 100% beneficiary.



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         17.       Despite the fact that David was in his mid to late seventies when he purchased

the annuities with the bulk of his retirement savings(over $2 million), the annuities all had

maturity dates far into the future.

         18.       David began to experience a cognitive decline in 2018. In notes dated

December 19, 2018, David's neurologist describes a one-year history of progressive short-

term memory difficulties and diagnoses David with mild dementia. Indeed, medical notes

dating as far back as August 2018 describe "cognitive changes" and "memory deficits."

David himself complained of mental fogginess and decreased mental focus.

         19.       Around this time, in a December 2018 email, representatives from Wells

Fargo communicated with each other about changing the beneficiaries of the annuities to

several charities. This email also describes communications with David's church, Second

Baptist Church in Houston, Texas.

         20.       In notes dated February 11, 2019, David's neurologist describes David's

condition as consistent with "mild dementia most likely early Alzheimer's" and

recommends starting David on Aricept and eventually Namenda.

         21.       On March 27, 2019, Lincoln acknowledges that the beneficiaries on the

Lincoln Annuity were changed to the Charities.

         22.       On July 23, 2019, New York Life confirms that the beneficiaries on the two

New York Life Annuities were changed to the Charities.

         23.       David's mental decline continued through 2019. He presented to a Dr.

Lassek-Nesselquist with impaired insight and judgment. Adult Protective Services

confirmed a finding of self-neglect. And a report by his neurologist described David as

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"disorganized in thought" and "unable to directly answer questions." The neurologist

diagnosed David with a "Major Neurocognitive Disorder."

         24.        In a letter dated December 6, 2019, Dr. Priyanka Bhugra wrote that David

did not have the capacity to make informed decisions regarding his healthcare due to his

progressive dementia.

         25.       In March 2020, Carole Shine, David's sister, applied for a guardianship of

David's person and estate. The court-appointed investigator confirmed in her report the

need for a guardianship.

         26.       David died on May 20, 2020.


Lack of Requisite Mental Capacity

         27.       David had been suffering steadily declining mental status from 2018 through

2019. At the time he changed the beneficiaries on the Lincoln Annuity and the New York

Life Annuities, David did not have the requisite mental capacity to comprehend the

consequences of his actions and business he was transacting. Therefore, with respect to the

annuities, the changes of beneficiary that occurred on March 27, 2019 and July 23, 2019

are void.


Undue Influence

         28.       Alternatively, the 2019 changes of beneficiary were the product of undue

influence.




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         29.       At the time David allegedly changed the beneficiaries, he had been diagnosed

with dementia of the Alzheimer's type and was therefore susceptible to the influence of

others.

          30.      At the time the beneficiaries on the Lincoln Annuity and the New York Life

Annuities were changed, an influence was exerted that undermined or overpowered

David's mind.

         31.       David would not have changed the beneficiaries but for the influence that

was exerted.


Conditions Precedent

         32.       All conditions precedent have been performed or have occurred.


Prayer

         33.       Accordingly, the Executor asks the Court to:

                   a.       With respect to the Lincoln Annuity, declare that the beneficiary
                            designation dated March 27,2019, naming the charities, is invalid due
                            to David's lack of mental capacity.

                   b.       With respect to the Lincoln Annuity, declare that the beneficiary
                            designation dated March 27,2019,naming the charities, is invalid due
                            to undue influence;

                   c.       With respect to the New York Life Annuities, declare that the
                            beneficiary designation naming the charities, is invalid due to David's
                            lack of mental capacity;

                   d.       With respect to the New York Life Annuities, declare that the
                            beneficiary designation naming the charities, is invalid due to undue
                            influence;




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                  e.        Rescind the invalid beneficiary designations and declare that the
                            Estate of David Minchen is the sole beneficiary of the Lincoln
                            Annuity and the New York Life Annuities; and

                            Award the Executor all other relief to which she shows herself entitled
                            and the Court deems appropriate.

                                                    Respectfully submitted,

                                                    DINKINS KELLY LENOX LAMB
                                                     & WALKER,L.L.P.

                                                    By: /s/Jimmy Walker
                                                           Jimmy Walker
                                                           State Bar No. 00786323
                                                           jwalker@dinkinslaw.com
                                                           Eric T. Bean
                                                           State Bar No. 24087152
                                                           ebean@dinIcinslaw.corn
                                                           2500 East T.C. Jester Blvd., Suite 675
                                                           Houston, Texas 77008-1461
                                                          (713) 759-0900
                                                          (713)759-9549 (Facsimile)

                                                    ATTORNEYS FOR CAROLE SHINE,
                                                    Independent Executor




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